N.C.G.S. 97-85 does not prohibit the Full Commission from deciding cases by a majority of two Commissioners. Case law is well settled that "[t]he Commission acts by a majority of the votes of its qualified members at the time the decision is made. Furthermore, a vote of two Commissioners constitutes a majority.Gant v. Crouch, 243 N.C. 604, 607, 91 S.E.2d 705, 707 (1956). This law was reiterated in both Estes v. N.C. State University,117 N.C. App. 126, 449 S.E.2d 762 (1994) and Poe v. Raleigh/DurhamAirport Authority, 121 N.C. App. 117, 464 S.E.2d 689 (1995).
Furthermore, the Full Commission retains the authority to judge credibility without deference to the Deputy Commissioners decision regarding credibility. Adams v. AVX Corp.,349 N.C. 676, 509 S.E.2d 411 (1998).
In view of the foregoing, plaintiffs motion is Hereby Denied and the Opinion and Award as filed on 9 March 2000 remains in full force and effect. No costs are assessed at this time.
This the _____ day of April 2000.
                                            S/ ____________________ DIANNE C. SELLERS COMMISSIONER
CONCURRING:
S/ ____________________ RENÉE C. RIGGSBEE COMMISSIONER
DCS: nwg